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                                                      November 26,2024
BY ECF
The Honorable Lorna G. Schofield
U.S. District Court for the Southem District of New York
500 Pearl Street
New York, New York 10007

       Re: Cypress Holdings, III L.P. v. Hall,No. 1:22-cv-1243 (LGS)
Dear Judge Schofield:

        We represent Sport-BLX,Inc. ("Sport-BLX"), Sport-BLX Securities Inc. ("Sport-BLX
Securities"), Clinton Group, Inc. ("Clinton Group"), George Hall, Mr. Johnson and Mr. Baez
(together the "Sport-BLX Parties") in the above-referenced action. I write today to apologize to
the Court for not better reading the Court's individual rules conceming exhibit limits in motions.
Please accept the undersigned's apology for the filing that exceeded the limitation contained in
this Court's individual rules and for the failure to submit this request prior to uploading the
motion.

         Pursuant to the Court's Rule III (BX3), please accept this correspondence as a request to
exceed the limitations contained in that individual rule. Specifically, we request (a) leave to file
a total of 76 exhibits, (b) permission to file few exhibits in excess of 15 pages, and (c) permission
to file a single, non-substantive Attorney Declaration of 30 pages that simply attaches the
Exhibits.

        We have identified certain overlaps in the originally filed Exhibits and request permission
to resubmit 76 of the 83 Exhibits originally filed. Additionally, we request permission to file one
exhibit in excess of 15 pages, Exhibit 2, which is 17 pages.l in excess of 15 pages.2 Lastly, we
also respectfully request permission to file a single, non-substantive Attorney Declaration of 30
pages to attach the Exhibits.

        Several reasons support the necessity of our request. First, we are filing both affirmative
and defensive motions for summary judgment in one briefing. Second, as the Court is aware,
this motion was filed on behalf of three distinct legal teams representing ten different parties. If
the other two teams were to file their motions separately, each would submit up to 15 exhibits. If


'This is a73 page document which requires 17 jump cites in the document to identify the
information cited.

2
 Pursuant to Court Rule III (BX3) the deposition transcripts (Exhibits 3, 50, 63,65) and the
Expert report exhibit (Exhibit 58) are being submitted as the entire document and will be shared
with the Court in a searchable form.
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        Sport-BLX had filcd its affirmative and defensive motions separatelyo it would have been
        permitted to submit 15 exhibits in support of each filing. The Court's Individual Rules indicate
        that each party is entitled to 15 exhibits; presumably the ten parties on whose behalf these
        motions were filed would be permitted 150 exhibits in total. Thankfully, the Court has already
        streamlined the briefing, so I acknowledge that this extrapolation is far from perfect, yet it would
        equal a total of 60 exhibits for these three teams.

                  Third, in our joint motion papers, the ten parties represented by three teams moved to
        dismiss six of plaintiffls nine remaining claims. In addition, the Sport-BLX parties moved on
        three affirmative claims (fraud, 10b and fiduciary duty). Out of necessity, while trying to keep
        our arguments concise, our request for summary judgment requires identiffing the indisputable
        record evidence (which is legion) proving (or disproving) each element of each claim. We have
        considerably narrowed the evidence for the Court to consider. There have been 16 distinct
        parties which have made produced 55 ,27 6 documents with a combined total of 351 ,965 pages in
        this litigation (see page 3). Please see the attached spreadsheet of document production.

                This letter request to expand the number of Exhibits which may be submitted to a total of
        77,to file one exhibit in excess of 15 pages, and to file a single, non-substantive Attorney
        Declaration of 30 pages is made on behalf of all of the defendants. Earlier today I spoke with
        opposing counsel to seek plaintiff s consent. Plaintiff does not consent as it does not believe
        Sport-BLX's hling of a motion on its affirmative claims was authorized.


                                                              Respectfully
Application GRANTED in part and DENIED in part. Sport-
BLX Defendants shall file exhibits not to exceed 225
pages in total, regardless of the length of any individual
exhibit, and with no limitation as to the number of           Wy             ow
included exhibits. Defendants may file an attorney
declaration not to exceed 30 pages.

The motions for summary judgment may include the
claims at issue in both 22cv1243 and the related action,
22cv8111.

Dated: November 27, 2024
       New York, New York




                                                         2
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                                                                   No. of           No. of
 Produced By                                          Prefix       Docs.            Pages

 Plaintiffs Cypress Parties (Cypress Holdings, lll,
 1.P., Michael M. Salerno, and Northeast
 Professional Planning Group (collectively, the
 "Cypress Parties")                                   CYPRESS                69s             3,503
 Defendant GlassBridge Enterprises, lnc.              GBE                   1,817        L6,O29

 Defendant Sports-BLX, lnc                            SPORTBLX             46,8r9       285,481
 Defendant Clinton Group lnc.                         CLINTON               4,777        34,t32

 Defendants Sport-BLX, lnc., George Hall &
 Joseph DePerio (collectively "Sport BLX
 Parties")                                            BLX                     42              189

 Defendant Cesar Baez                                 BAEZ                   112              81_8

 Defendant Joseph De Perio                            DEPERIO                   9               63

 Defendant George Hall                                HALL                   457             L,O24

 Defendant Christopher Joh nson                       JOHNSON                  L4               41,

 Third-Party orix PTP, Holdings, LLC                  ORIX                     36             100
 Third-Party Tim Cross                                CROSS                     5               44
 Third-Party David Roth                               ROTH                      3              1.IL

 Third-party Allen Cohen                              COHEN                     4                7

 Third-party Gene Phillips of PF2 Securities
 Evaluations, lnc.                                    PF2                      15             693

 Third-Party Luxor Financial Group                    LFG                    306             3,5O2
 Third-party Mahdi Eslamimehr                         ME                       L4              107

 Third-partv Marcie Bour                              MB                     217             6,L2L
 Totals                                                                    55,276       351,955




                                                       J
